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 (&'+"(&',!
 5MKL ?GLRRO =URJMOI!

 ZZZ%VWX\%IHX!
                                                                                                                                          !
                                       ()*!,3051278!.97229$!-2;!/674$!-/!&%'+'!
                                       "'&'#!(&'"!)+)&!
                                                                                                   ?WXHIQWV GEQ WENI E UMGL YEUMIW\
                                       <YIUYMIZ            !      !        !
                                                                                                   RJ IOIGWMYIV !
                                       ?WX\YIVEQW MV ;D0]V "' SXFOMG LMKL VGLRRO$ bTaeX]V          B] PSSXcX^] c^ cWTXa QPbXR \PcW) bRX*
                                       ]TPa[h 0)1-- ^U GTf O^aZ <Xchjb \^bc PRPST\XRP[[h VXUcTS    T]RT) >]V[XbW) WXbc^ah) U^aTXV] [P]*
                                       bcdST]cb+ Hda bcdST]cb caPeT[ Ua^\ P[[ UXeT Q^a^dVWb)       VdPVT) P]S ^cWTa aT`dXaT\T]cb) Kcdh
                                       b^\TcX\Tb R^\\dcX]V U^a ^eTa cWaTT W^dab TPRW SPh+!         bcdST]cb RP] P__[h U^a ../ T[TRcXeTb+
                                                                                                   LWTbT X]R[dST 4 B]cT[ aTbTPaRW R[Pb*
>IGIQW 5MKLOMKLWV- !                   >bcPQ[XbWTS X] .6-1) PS\X]XbcTaTS Qh cWT GO< =T_Pac*
                                                                                                   bTb) TR^]^\XRb) _bhRW^[^Vh) b^Uc*
" LWT <[Pbb ^U /-.5 X]R[dSTb .32
                                       \T]c ^U >SdRPcX^] P]S PRRaTSXcTS Qh cWT GTf O^aZ KcPcT
                                                                                                   fPaT STeT[^_\T]c) \TSXRP[ TcWXRb)
  GPcX^]P[ FTaXc bT\X"UX]P[Xbcb!       ;^PaS ^U aTVT]cb) KcdheTbP]c Xb a^dcX]T[h ]P\TS ^]T ^U
                                       cWT R^d]cahjb QTbc WXVW bRW^^[b+ ?a^\ P .-"bc^ah QdX[SX]V   eTacTQaPcT i^^[^Vh) fTbcTa] _^[XcXRP[
" Kcdhjb J^Q^cXRb cTP\ fPb cWT         X] S^f]c^f] FP]WPccP]) cWT bRW^^[ bTaeTb bcdST]cb fXcW      cW^dVWc) CTfXbW WXbc^ah) % bRX UXRcX^]+ !
  /-.4 aTRX_XT]c ^U cWT <WPXa*         cWT WXVWTbc PS\XbbX^]b cTbc bR^aTb P\^]V cWT RXchjb ]X]T
  \P]jb 9fPaS P]S TPa]TS cWXaS         K_TRXP[XiTS AXVW KRW^^[b+!
  _[PRT X] cWT X]cTa]PcX^]P[ a^Q^c*
  XRb R^\_TcXcX^] X] <WX]P !           D]^f] U^a Xcb aXV^a^db P]S PRRT[TaPcTS
                                       \PcW P]S bRXT]RT _a^VaP\) KcdheTbP]c Xb
" EPbc hTPa Kcdh bcdST]cb TPa]TS       P[b^ aXRW X] cWT Wd\P]XcXTb P]S cWT Pacb+
  X]RaTSXQ[T W^]^ab X]R[dSX]V P        >[TRcXeTb P]S 9I R^dabTb P[[^f bcdST]c c^
  .bc _[PRT ]PcX^]P[ P[[ VXa[b RWTbb   bcdSh P fXST aP]VT ^U c^_XRb+ Kcdh bcd*
  RWP\_X^]) .bc _[PRT X] cWT /-.4
                                       ST]cb a^dcX]T[h fX] bcPcT P]S ]PcX^]P[
  ?TS <WP[[T]VT) .bc _[PRT fX]*
                                       R^\_TcXcX^]b ]^c Ydbc X] \PcW P]S bRXT]RT)
  ]Tab X] cWT GO< KRXT]RT P]S
                                       Qdc P[b^ X] b_TTRW P]S STQPcT) RaTPcXeT
  >]VX]TTaX]V ?PXa) P @T]Tb X]
                                       faXcX]V) P]S b_^acb+ !
  K_PRT <^\_TcXcX^] fX]]Ta) cf^
  JT]TVTa^] L^_ KRW^[Pab) P]S
                                       ?WX\YIVEQW QXaWXaIV VWXHIQW OIEHIaV !
  U^da UX]P[Xbcb X] cWT GPcX^]P[
                                       9c KcdheTbP]c) bcdST]cb cPZT RWPaVT ^U \P]h ^U cWTXa ^f] TgcaPRdaaXRd[Pa Tg_TaXT]RTb+ LWT
  AXbc^ah =Ph <^\_TcXcX^]!
                                       bRW^^[ Wd\b fXcW bR^aTb ^U bcdST]c"ad] _dQ[XRPcX^]b) R[dQb) P]S bTaeXRT PRcXeXcXTb+ KcdST]cb _dQ*
" Hda K_TTRW P]S =TQPcT cTP\           [XbW P fTTZ[h ]Tfb_P_Ta P]S bTeTaP[ \PVPiX]Tb8 cWTh \P]PVT cWTXa ^f] b_^acb cTP\b+ Ad]*
  fPb aP]ZTS #/ X] GTf O^aZ            SaTSb ^U bcdST]cb _PacXRX_PcT X] \dbXR P]S Pac _TaU^a\P]RTb) Rd[\X]PcX]V TPRW b_aX]V X] P] T]*
  KcPcT P]S X] cWT c^_ 2- ]PcX^]*      cXaT[h bcdST]c"ad]) bRW^^["fXST ^aXVX]P[ \dbXRP[ cWTPcTa TgcaPePVP]iP RP[[TS KBG@" !
  P[[h!

" 1/ Kcdh bcdST]cb fTaT fX]]Tab        <XU 9MVVMRQ!
  X] cWT KRW^[PbcXR 9acb % NaXcX]V
  <^\_TcXcX^]!                         KcdheTbP]c AXVW KRW^^[ WPb QTT] P bh\Q^[ ^U TgRT[[T]RT X] TSdRPcX^] U^a \^aT cWP] P
                                       RT]cdah+ Hda \XbbX^] Xb c^ R^]cX]dT cWPc R^\\Xc\T]c c^ TgRT[[T]RT Qh _a^eXSX]V P] T]*
                                       eXa^]\T]c cWPc fX[[ ]dacdaT P]S T]WP]RT cWT b_TRXP[ PRPST\XR cP[T]cb ^U cWT bcdST]cb
                                       PS\XccTS c^ KcdheTbP]c+ LWT TSdRPcX^]P[ WTaXcPVT ^U KcdheTbP]c Xb STT_[h a^^cTS X] cWT
                                       caPSXcX^] ^U KRXT]RT) FPcWT\PcXRb) P]S LTRW]^[^Vh+ LWXb WPb QTT] cWT U^d]SPcX^] ^U
                                       ^da TSdRPcX^]P[ bdRRTbb P]S aT\PX]b cWT R^a]Tabc^]T ^U ^da TSdRPcX^]P[ _a^VaP\+
                                       NXcWX] cWXb R^]cTgc) cWT V^P[ ^U cWXb X]bcXcdcX^] Xb c^ X]bcX[[ cWT X]cT[[TRcdP[) \^aP[) P]S Wd*
                                       \P]XbcXR eP[dTb ]TRTbbPah U^a TPRW RWX[S c^ PRWXTeT WXb,WTa \PgX\d\ !
                                       _^cT]cXP[ Pb P bcdST]c P]S Pb P RPaX]V RXcXiT] ^U cWT f^a[S+ !

                                        ?WX\YIVEQW .HPMVVMRQV =URGIVV!
                                        9S\XbbX^] c^ KcdheTbP]c Xb ^_T] c^ bcdST]cb aTbXSX]V X] P[[ 2 Q^a^dVWb ^U GO<) P]S Xb ST*
                                        cTa\X]TS b^[T[h ^] cWT QPbXb ^U cWTXa bR^aTb ^] cWT GO< =T_Pac\T]c ^U >SdRPcX^]jb K_T*
                                        RXP[XiTS AXVW KRW^^[b 9S\XbbX^] LTbc &KAK9L'+ H] PeTaPVT) \^aT cWP] /6)--- 5cW % 6cW
                                        VaPST bcdST]cb cPZT cWT cTbc TPRW hTPa+ ?TfTa cWP] 1$ ^U cWT bcdST]cb fW^ cPZT cWT
                                        KAK9L `dP[XUh U^a PS\XbbX^] c^ Kcdh+!
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